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                 Exhibit A
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 GLOBAL HEALTH COUNCIL, et al.,

                        Plaintiffs,

                 v.                                             Civil Action No. 25-cv-402 (AHA)

 DONALD J. TRUMP, et al.,

                        Defendants.

                          DECLARATION OF JEREMY LEWIN
I, Jeremy Lewin, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am over 18 years of age, of sound mind, and otherwise competent to make this

   declaration. This declaration is based on my personal knowledge and information provided to

   me in my official capacity by others.

       2.     I am currently serving as the Director of Foreign Assistance and performing the

   duties and functions of Deputy Administrator and Chief Operating Officer of the United States

   Agency for International Development (USAID). I have served as a policymaker at the

   Department of State and USAID since shortly after President Trump’s inauguration in January

   2025. My current duties include managing State and USAID’s foreign assistance programs

   and overseeing the responsible administration of USAID’s day-to-day activities. I am also

   responsible for helping to manage the policy process for the Department of State’s

   reorganization, as well as the realignment of certain USAID functions and programs to State.

       3.     Congress appropriated substantial foreign assistance funds in Division F of the

   Further Consolidated Appropriations Act, 2024, Pub. L. No. 118-47, div. F, 138 Stat. 460, 729
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(FCAA).    In appropriating funds in that statute, Congress took various approaches and

addressed various operational needs of the government’s foreign assistance programs.

   4.      Some of the funds appropriated in the FCAA remain available until September 30,

2025, whereas other funds remain available until later dates or until expended. For example,

the provision at 138 Stat. at 742 contains four appropriations, two of which “remain available

until expended”; one of which remains “available until September 30, 2028”; and one of which

remains “available until September 30, 2025.”

   5.      Thus, only a portion of the appropriations in the FCAA for the 2024 fiscal year

must be obligated by September 30, 2025, before they expire.

   6.      On March 28, 2025, State and USAID notified Congress of their intent to undertake

a reorganization that would realign certain USAID functions to State by July 1, 2025, and

discontinue other residual USAID functions inconsistent with Administration priorities. As

discussed in the notification, it is anticipated that, by July 1, 2025, State will assume

responsibility for the implementation of ongoing USAID programming. Accordingly, the

Administration has proposed legislation to authorize abolishing USAID as an independent

establishment after certain wind down actions are completed.

   7.      In the first nearly complete phase, State has assumed management of USAID’s

financial and administrative systems and management of USAID’s remaining operations and

ongoing foreign assistance programs via interagency agreements, to ensure that USAID

programs can be safely and effectively managed by State during the transition period. For

example, payment processing systems have already been integrated into State through a new

software program to ensure a streamlined approach to managing life-saving humanitarian aid

and national security programs, and State bureaus are already processing cost modification,
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new obligation, and program management for ongoing former USAID programs. State has

hired several hundred new employees – many formerly of USAID – to perform these critical

functions.

   8.        If State and USAID were to begin by August 15, 2025, to obligate the funds

expiring on September 30, 2025 subject to the March 10, 2025 preliminary injunction in this

action, State and USAID expect to have adequate time to obligate those funds that would

otherwise expire on September 30, 2025.

   9.        Consistent with the reorganization process described in the notification of March

28, 2025, by August 15, 2025, State expects to be responsible for implementing USAID’s

functions, including acquisition and assistance functions, under an interagency agreement,

under which State would be able to manage USAID’s programs, including for purposes of

obligating foreign assistance funds.

   10.       State and USAID could exercise existing authorities that allow additional agency

acceleration of contracting and grant-making processes, including but not limited to the

authorities described herein.

   11.       For example, existing State and USAID regulations authorize exceptions and

waivers from the customary “full and open competition” procedures and authorize

modifications of existing contracts or an award of new contracts on an expedited basis.

   12.       For USAID awards, the applicable acquisition regulations include 48 CFR

§ 706.302-70(a)(2) (as to USAID), which implements an exception to “full and open

competition” requirements, “when” imposing those requirements “would impair or otherwise

have an adverse effect on programs conducted for the purposes of foreign aid relief, and

rehabilitation.” For example, 48 CFR § 706.302-70(b)(3) (as to USAID) implements that
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exception to “full and open competition” requirements for awards for “supplies or services for

countries, regions, or programs for which the Administrator of USAID makes” a determination

and finding under FAR subpart 1.7 that compliance with full and open competition procedures

would impair foreign assistance objectives, and “would be inconsistent with the fulfillment of

foreign assistance programs.” Such provisions have allowed USAID to adopt expedited

procedures packages responding to various urgent situations requiring acceleration of

obligation timelines, such as in response to the COVID-19 pandemic and in response to armed

conflicts and natural disasters in various nations.

   13.     Similarly, as to State’s contracts subject to the Federal Acquisition Regulation

(FAR), and federal assistance awards subject to State’s Federal Assistance Directive, State

would be able to rely on various provisions to accelerate the timeline for obligation of funds

before their expiration. For example, FAR 6.302 identifies certain circumstances in which

State could undertake new contracts without providing for “full and open competition.”

Moreover, as to federal assistance awards, Chapter 2.F.2 of State’s Federal Assistance Directive

identifies various exceptions allowing sole source or otherwise limited competition.

   14.     The Uniform Administrative Requirements, Cost Principles, and Audit

Requirements for Federal Awards would not foreclose State and USAID from shortening the

time to obligate funds that would otherwise expire on September 30, 2025. For example, the

provision in those uniform requirements at 2 CFR § 200.204, for notices of funding

opportunities, provides that “no funding opportunity should be available for less than 30

calendar days unless the Federal agency determines that exigent circumstances justify this,”

and thus explicitly allows agencies to accelerate the pertinent timetable for making funding

opportunities available. 2 C.F.R. § 200.204(b).
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    15.     For example, under USAID’s guidance, the Automated Directives System (ADS),

a notice of funding opportunity could be made available for less than 30 days when supported

by a written determination of exigent circumstances. ADS 303.3.5.2. Similarly, although the

ADS also included ADS 300, Agency Acquisition and Assistance (A&A) Planning, which

stated procurement action lead times (PALTs) for certain full and open competition actions,

those “lead times” guidelines were not binding on USAID and would not be binding on State

in undertaking pertinent USAID functions as to contracts and federal assistance awards.

    16.     Certain statutory authorities under the Foreign Assistance Act, such as section

7032(b)(2) (democracy programs), also permit obligations “notwithstanding” other

requirements and process, in the event of exigency. USAID has regularly relied upon this

authority to rapidly obligate funds in the past, and I have personally utilized it to respond to

urgent humanitarian crises within days.

    17.     Hence, in my experience, the process to award contracts and grants, and then obligate

funds for those contracts and grants can generally be completed in six weeks (and sometimes within

a considerably shorter timeframe if accelerated processes and authorities are used). Defendants

are aware of these timelines and have already undertaken preparations to be ready to obligate

expiring foreign assistance funds on a short timeline as necessary.

    18.     In my experience, Defendants should have sufficient time to obligate foreign

assistance funds that would otherwise expire on September 30, 2025, if the process begins by

August 15, 2025.

    19.     I am also aware that there is a pending expedited appeal of the Court's order related

to the obligation of foreign assistance funds in the United States Court of Appeals for the District

of Columbia Circuit, with argument calendared for July. Defendants have requested a decision
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by August 15, 2025. Enforcing the Court’s order in the manner urged by Plaintiffs prior to the

resolution of this appeal will prejudice Defendants’ rights and undermine the D.C. Circuit’s

consideration of these important matters.

I declare that the foregoing is true and correct to the best of my knowledge.
Dated: June 30, 2025




                                                 Jeremy Lewin
                                                 Director of Foreign Assistance (State)
                                                 (PTDO) Deputy Administrator (USAID)
